          Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 1 of 20



                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT


HEATHER GIRARD,

        Plaintiff,                                                     No. 3:12-cv-00703 (MPS)

        v.

LINCOLN COLLEGE OF NEW ENGLAND,

        Defendant.


                     RULING ON MOTION FOR SUMMARY JUDGMENT

I.      INTRODUCTION

        Plaintiff, a former student at Lincoln College,1 filed a complaint on April 11, 2012,

alleging various claims, including that Defendant violated the Americans with Disabilities Act

and the Rehabilitation Act of 1973 by failing to reasonably accommodate Plaintiff‘s disability

while she was enrolled as a student [Doc. # 1]. Defendant has filed a Motion for Summary

Judgment [Doc. # 53] on the remaining counts of the Amended Complaint [Doc. # 37], which,

following an earlier order granting in part Defendant‘s Motion to Dismiss [Doc. # 49], are

Counts One, Two, Five, and Six. Familiarity with the allegations in the underlying complaint

and evidence in the record is assumed for purposes of this decision.

        Because I find that the record contains sufficient evidence to raise a genuine issue of

material fact as to Plaintiff‘s claim under Section 504 of the Rehabilitation Act, the Motion for

Summary Judgment is DENIED as to that claim. Summary judgment is GRANTED as to all

remaining claims.        In particular, summary judgment is granted on the Americans with


1
 The school was known as Briarwood College at the time Plaintiff matriculated in the fall of 2008. Briarwood
College was acquired by Lincoln College in December of 2008, at which time Plaintiff attended the school. (Def.‘s
Mem. in Support of Summary Judgment [Doc. # 53] at 5.)
         Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 2 of 20



Disabilities Act claim because the portion of the statute applicable to Plaintiff, Title III, affords

only injunctive relief, and any request for such relief would be moot due to the fact that Plaintiff

has left Lincoln College and has shown no desire or intent to return; summary judgment is

granted on the breach-of-contract claim because the only promises as to which the record

supplies evidence of breach are not supported by consideration; and summary judgment is

granted on the claim for intentional infliction of emotional distress because the only conduct that

might fit that description was an intentional tort by the Defendant‘s employee for which the

Defendant is not vicariously liable.

II.     STANDARD OF REVIEW

        Summary judgment is appropriate when the ―pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to judgment as a matter

of law.‖ Fed. R. Civ. P. 56(c). ―A dispute regarding a material fact is genuine if the evidence is

such that a reasonable jury could return a verdict for the nonmoving party.‖ Williams v. Utica

Coll. of Syracuse Univ., 453 F.3d 112, 116 (2d Cir. 2006) (quotation marks omitted). Summary

judgment is appropriate if, after discovery, the nonmoving party ―failed to make a sufficient

showing on an essential element of [its] case with respect to which [it] has the burden of proof.‖

Id. at 323.

III.    DISCUSSION

        A. Count One – Title III of the ADA

        Count One alleges that Defendant failed to provide Plaintiff with a reasonable

accommodation in violation of the Americans with Disabilities Act (―ADA‖), 42 U.S.C. §§

12111, et seq. Although the Amended Complaint does not specify under which title of the ADA

Plaintiff brings her claim, because she has asserted claims against a private university, it appears
                                                 2
         Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 3 of 20



that that the only applicable title is Title III, which is entitled ―Public Accommodations and

Services Operated by Private Entities.‖        See 42 U.S.C. § 12189 (―Any person that offers

examinations or courses related to applications, licensing, certification, or credentialing for

secondary or post-secondary education, professional, or trade purposes shall offer such

examinations or courses in a place and manner accessible to persons with disabilities or offer

alternative accessible arrangements for such individuals.‖). Title I applies to employment, see 42

U.S.C. § 12112(a), and Title II applies to ―public entities,‖ see 42 U.S.C. § 12132, neither of

which are at issue here. Thus, Plaintiff‘s claim arises under Title III of the ADA.

        It is well-settled in the Second Circuit that Title III of the ADA allows only for injunctive

relief, not damages. Brief v. Albert Einstein College of Medicine, 423 F. App‘x 88, 90 (2d Cir.

2011). Here, it is undisputed that Plaintiff no longer attends Lincoln College and is currently

enrolled in a program at a different university. There is no evidence in the record that Plaintiff

has any intent or desire to return to Lincoln College. Further, Count One of Plaintiff‘s Amended

Complaint does not even seek injunctive relief. Accordingly, Plaintiff‘s claim under Title III of

the ADA is moot. Id. (finding plaintiff‘s claim against medical school under Title III of the

ADA moot where plaintiff had graduated from medical school, received his M.D., and was

participating in a residency program). Summary judgment is therefore GRANTED as to Count

One.

        B. Count Two – Section 504 of the Rehabilitation Act

        Count Two alleges that Defendants failed to provide Plaintiff with a reasonable

accommodation in violation of Section 504 of the Rehabilitation Act (―the Act‖). Section 504 of

the Act, which applies to programs receiving federal financial assistance, states that ―‗[n]o

otherwise qualified individual with a disability . . . shall, solely by reason of her or his disability,



                                                   3
        Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 4 of 20



be excluded from the participation in, be denied the benefits of, or be subjected to discrimination

under‘ any covered program or activity.‖ Powell v. Nat’l Bd. of Med. Exam’rs, 364 F.3d 79, 85

(2d Cir. 2004) (quoting 29 U.S.C. § 794(a)). Defendant does not contest that Section 504 applies

to it but argues that Plaintiff‘s Rehabilitation Act claims cannot survive summary judgment for

several other reasons. As discussed below, I disagree.

       To establish a prima facie violation under Section 504, a plaintiff must demonstrate that:

(1) she is a ―qualified individual‖ with a disability; (2) the defendant is subject to Section 504;

and (3) she was ―denied the opportunity to participate in or benefit from defendant[‘s] services,

programs, or activities, or [was] otherwise discriminated against by defendant[], by reason of

[her] disability.‖ Id. (internal quotation marks omitted). With respect to the third element, a

plaintiff may base a disability discrimination claim on the theory that the defendant failed to

make a reasonable accommodation. Fulton v. Goord, 591 F.3d 37, 43 (2d Cir. 2009). Unlike

Title III of the ADA, the Act does allow for the recovery of damages. In order to recover

damages, however, Plaintiff must show that the statutory violation resulted from ―deliberate

indifference‖ to the rights secured by the Act. Garcia v. S.U.N.Y. Health Sciences Center of

Brooklyn, 280 F.3d 98, 115 (2d Cir. 2001).

               1. Whether Plaintiff is Disabled

       Plaintiff‘s Rehabilitation Act claim is based on a reasonable accommodation theory.

Defendant argues that this claim fails because Plaintiff cannot establish the first prong of the

prima facie case, i.e., that she was disabled within the meaning of the Act. For purposes of this

case, the definition of ―disability‖ in the Act is taken from the ADA‘s definition in 42 U.S.C. §

12102. See 29 U.S.C. § 705(9) (―The term ‗disability‘ means—(B) for purposes of subchapters .

. . V . . . of this chapter [which includes § 794 – Nondiscrimination Under Federal Grants and



                                                4
          Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 5 of 20



Programs] . . . the meaning given in section 12102 of Title 42.‖); see also Shaywitz v. Am. Bd. of

Psychiatry and Neurology, 848 F. Supp. 2d 460, 467 n.4 (S.D.N.Y. 2012) (―The Second Circuit

applies the same standard to the Rehabilitation Act and Title III of the ADA.‖). Thus, the

relevant definition of disability is ―a physical or mental impairment that substantially limits one

or more major life activities of such individual.‖ 42 U.S.C. § 12102. Plaintiff claims that she

suffers from auditory processing disorder, and that this impairment substantially limits her ability

to learn, think, hear, concentrate, and speak.2 Defendant does not dispute that Plaintiff suffers

from an ―impairment‖ or that learning, thinking, hearing, concentrating, and speaking constitute

―major life activities‖ within the meaning of the statute. Instead, Defendant argues that Plaintiff

cannot establish that her auditory processing disorder ―substantially limits‖ her ability to learn,

think, hear, concentrate and speak.              In light of the evidence in the record and the ADA

Amendments Act of 2008 (―ADAA‖), I disagree, and find that Plaintiff has at least raised a

genuine issue of material fact on this point.

         The ADAA ―substantially broadened the definition of ‗disability‘ under the law, in

explicit response to Sutton v. United Air Lines, 527 U.S. 471 (1999) and Toyota Motor Mftrg. v.

Williams, 534 U.S. 184 (2002), in which the ADA's terms defining ‗disability‘ had been strictly

defined.‖ Hutchinson v. Ecolab, Inc., 2011 WL 4542957, at *7 (D. Conn. Sept. 28, 2011). In

particular, the ADA now states that the definition of disability shall be ―construed in favor of

broad coverage of individuals under this chapter, to the maximum extent permitted by the terms

2
  Although Plaintiff seems to argue in her opposition brief that her anxiety also constituted a disability under the
Act, Plaintiff testified in her deposition that she never identified it to Lincoln as a disability and never requested
accommodations for it. (Pl.‘s Depo. Tr. at 101 (―Q: Did you ever identify to the college that you had an anxiety
related disability? A: No, because I never thought of it as a disability because I never went to the doctor for it.‖).
Thus, Plaintiff‘s alleged anxiety cannot form the basis of her claim under the Act. Cf. McBride v. BIC Consumer
Products Mfg. Co., Inc., 583 F3d 92, 97 (2d Cir. 2009) (listing the defendant‘s ―notice of [the] disability‖ as an
element of the prima facie case under the ADA); see also Thompson v. City of New York, (S.D.N.Y. Dec. 9, 2002)
(―An employee has the initial duty to inform the employer of a disability before ADA liability may be triggered for
failure to provide accommodations‖ (quoting Beck v. Umv. of Wisconsin Bd. of Regents, 75 F.3d 1130, 1134 (7th
Cir. 1996))).

                                                           5
         Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 6 of 20



of this chapter‖ and that the term ―substantially limits‖ shall be ―interpreted consistently with the

findings and purposes of the ADA Amendments Act of 2008.‖ 42 U.S.C. § 12102(4)(A), (B).

The ―findings‖ of the ADAA include, but are not limited to: (1) that the Supreme Court in Sutton

―narrowed the broad scope of protection intended to be afforded by the ADA, thus eliminating

protection for many individuals whom Congress intended to protect,‖ (2) that the Supreme Court

in Toyota ―interpreted ‗substantially limits‘ to require a greater degree of limitation than was

intended by Congress,‖ and (3) that, ―as a result of these Supreme Court cases, lower courts have

incorrectly found in individual cases that people with a range of substantially limiting

impairments are not people with disabilities.‖ See ADAA, Sec. 2(a)(4), (6), (7), Pub. L. 110–

325, 122 Stat. 3553 (2008). The ―purposes‖ of the ADAA include, but are not limited to: (1) ―to

carry out the ADA‘s objectives . . . by reinstating a broad scope of protection to be available

under the ADA,‖ (2) ―to convey that it is the intent of Congress that the primary object of

attention in cases brought under the ADA should be whether entities covered under the ADA

have complied with their obligations,‖ and (3) ―to convey that the question of whether an

individual‘s impairment is a disability under the ADA should not demand extensive analysis.‖

See id. Sec. 2(b)(1), (5).

        Plaintiff's deposition testimony provides enough evidence to make the question whether

she has a disability under these relaxed standards one for the jury. Plaintiff testified—and

Defendant does not dispute—that she has been diagnosed with auditory processing disorder

(―ADP‖). According to Plaintiff, ADP makes it difficult to process and understand information

being conveyed to her, affects her ability to concentrate by leading her to focus on background

noise rather than the information being conveyed to her, and affects her ability to communicate

and convey her thoughts. (Pl.‘s Depo. Tr. [Doc. # 66-3] at 20-21, 29-37, 46-47, 89-92.) Thus,



                                                 6
         Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 7 of 20



ADP affects Plaintiff‘s ability to learn, think, hear, concentrate, and speak. (Id.) In addition,

Plaintiff testified that she had difficulty in elementary school and was held back in first grade.

(Id. at 17-18.) She was provided with learning accommodations in elementary school, middle

school, and high school. Such accommodations included, but were not limited to, access to extra

help, quiet test-taking facilities, and exam questions stated in a ―broken down‖ way. (Id. at 30-

37.) In high school, the principal and guidance counselor held ―504 meetings‖ throughout the

year with Plaintiff‘s parents. (Id. at 36.) Plaintiff‘s guidance counselor and the administration at

her high school also created a ―504 Accommodation Plan‖ for Plaintiff to provide to her college

upon admission. (Id. 45-46.) Although the 504 Accommodation Plan has not been provided to

the Court as an exhibit, it appears from Plaintiff‘s deposition testimony that the plan describes

how Plaintiff‘s APD affects the major life activities of learning and thinking. (See id. at 46-49.)

       Despite this evidence, Defendant argues that Plaintiff has failed to establish that her ADP

―substantially limits‖ any major life activity because: (1) Plaintiff testified that she can

―overcome‖ some of her limitations using certain strategies such as asking people to repeat

themselves, taking breaks from studying, and blocking out background noise; (2) Plaintiff

maintained an above-average GPA at Lincoln despite requesting accommodations in only five of

the twenty-three courses she was enrolled in; and (3) Plaintiff does not require accommodations

at her new school. (Def.‘s Mem. at [Doc. 54] at 19.) I disagree that these circumstances require

me to find, as a matter of law, that Plaintiff's impairment does not substantially limit her ability

to learn, think, hear, concentrate, and speak.

       The first argument is without merit because under the ADA‘s new definition of disability,

―[t]he determination of whether an impairment substantially limits a major life activity shall be

made without regard to the ameliorative effects of mitigating measures such as . . . learned



                                                 7
         Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 8 of 20



behavioral or adaptive neurological modifications.‖ 42 U.S.C. § 12102(4)(E)(i). Indeed, one of

the stated purposes of the ADAA was ―to reject the requirement enunciated by the Supreme

Court in [Sutton] . . . that whether an impairment substantially limits a major life activity is to be

determined with reference to the ameliorative effects of mitigating measures.‖ 122 Stat. 3553,

Sec. 2(b); see 42 U.S.C. § 12102(4)(B) (requiring courts to interpret term ―substantially limits‖

in accordance with findings and purposes of ADAA). Because Plaintiff‘s study strategies are

―learned behavior‖ modifications, I cannot consider them in determining whether Plaintiff‘s

ADP substantially limits a major life activity.

       The other two arguments, though they may be relevant, are not dispositive. On the one

hand, the fact that Plaintiff did not request accommodations in several classes and nevertheless

managed largely to succeed, and the fact that she has succeeded without accommodations in her

current program, may suggest that she is not substantially limited in her ability to learn, think,

hear, concentrate, and speak. On the other hand, when viewing the evidence in a light most

favorable to Plaintiff—as I must do on a motion for summary judgment—it is equally likely that

Plaintiff‘s success in classes where she did not request an accommodation is due to the strategies

she used to overcome her learning disability, and that in the critical exam-review class in which

she requested an accommodation and, as discussed below, it was not adequately provided, her

learned strategies were insufficient to counteract the effects of her disability. (See Pl.‘s Depo.

Tr. [Doc. # 66-3] at 90-91 (discussing the ways in which she tries to overcome her limitations).)

The fact that Plaintiff's impairment prompted a request for accommodation in a minority of

classes, and proved to be an insurmountable obstacle in only one class in which an adequate

accommodation was not provided does not, as a matter of law, mandate a finding that the

impairment did not substantially limit Plaintiff. Moreover, Plaintiff testified that the classrooms



                                                  8
        Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 9 of 20



at her new school, and some of the classrooms at Lincoln, simply were not as distracting as the

classrooms for which she requested accommodations, which suggests only that no

accommodation was necessary in those cases. (Id. at 82, 186) (―[T]he [new] school is extremely

good about having quiet. . . . it‘s quiet in the room. I don‘t feel I need to go to any other room

with this school.‖). Most importantly, resolution of this question must be guided by the clear

congressional intent expressed in the ADAA. In light of the ADAA‘s findings and purposes,

which are set forth in part above and must be considered in determining whether a person is

―substantially limited,‖ I find that the evidence in the record raises a genuine issue of material

fact as to whether Plaintiff‘s ADP substantially limits her in any major life activity, her partial

success in overcoming her disability without accommodation notwithstanding.

       A case relied on by Defendant—Rumbin v. Assoc. of Am. Med. Colleges, 803 F. Supp. 2d

83, 95 (D. Conn. 2011)—is distinguishable from this case. First, Rumbin was decided following

a bench trial, not on a motion for summary judgment. See id. at 85. Second, the undisputed

evidence in Rumbin showed that objective measures of the plaintiff‘s vision were ―on the cusp of

normal‖ and ―within normal range‖; by contrast, in this case there is evidence that Plaintiff‘s

ADP condition has disadvantaged her throughout her academic career. Id. at 94. Third, it does

not appear that the Court in Rumbin expressly considered the findings and purposes of the

ADAA. See id. at 93-94; see also 92 n.4 (finding that the ADAA applied to some of plaintiff‘s

claims but focusing on the portion of the amended disability definition relevant to vision).

Accordingly, I do not find Rambin to be a useful guide in this case, notwithstanding that

decision‘s partial reliance on the plaintiff‘s success in the absence of accommodations. See id. at

95.




                                                9
        Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 10 of 20



       In sum, given the entirety of the factual record in this case construed in a light most

favorable to Plaintiff, as well as the statutory mandate to interpret the definition of ―disability‖

broadly, I find that Plaintiff has at least raised a genuine issue of material fact as to whether she

is ―disabled.‖

                 2. Whether Plaintiff “Abandoned” her Rehabilitation Act Claim

       Defendant also argues that Plaintiff ―abandoned‖ her failure-to-accommodate claim when

she ―failed to communicate any alleged deficiencies in her accommodations‖ and ―simply left

Lincoln after failing her seminar for a third time.‖ (Def.‘s Mem. [Doc. # 54] at 20.) Defendant

cites no authority for the proposition that a plaintiff is required to have discussions with a

defendant regarding failed accommodations before filing suit, and the cases cited by Defendant

on this issue are inapposite. For example, Shaywitz v. Am. Bd. of Psychiatry and Neurology, 848

F. Supp. 2d 460, 467 (S.D.N.Y. 2012) discusses the requirement that a defendant have adequate

knowledge of the plaintiff‘s disability; here, there is no dispute that Defendant had adequate

knowledge of Plaintiff‘s ADP. McBride v. BIC Consumer Products Mfg. Co., Inc., 583 F.3d 92,

100 (2d Cir. 2009), simply holds that the failure to engage in the ―interactive process‖ of

determining whether accommodations will be provided cannot form the basis of an ADA claim if

no accommodation was possible; whether an accommodation was possible in this case is not at

issue. To be sure, there are cases discussing the ―interactive process‖ required in determining

what limitations a person has, whether any accommodations will be granted, and if so, what

accommodations are reasonable. See, e.g., Festa v. Bd. of Ed., 145 Conn. App. 103, 115 (2013).

But here, the record indicates that the parties did engage in such an interactive process, and that,

as a result of that process, Defendant determined that Plaintiff would be provided with two

accommodations: (1) extended test time, and (2) a non-distracting test-taking environment.



                                                 10
        Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 11 of 20



Defendant has provided no authority for extending the required interactive process to the period

following a failed attempt to provide an agreed-upon accommodation. Further, the Court is

unaware of any rule requiring a plaintiff to re-open the dialogue after the defendant has failed to

deliver a promised accommodation in an adequate manner. In the absence of such authority, the

Court declines to create such a barrier to Rehabilitation Act claims.

               3. Whether Plaintiff Received Reasonable Accommodations

       Next, Defendant argues that Plaintiff cannot show that a reasonable accommodation was

denied to her because Lincoln ―provided all accommodations requested by Plaintiff.‖ (Def.‘s

Mem. [Doc. # 54] at 21-22.) I disagree, and find that a genuine issue of material fact exists as to

whether Defendant denied Plaintiff reasonable accommodations. As noted above, the record

indicates that Defendant agreed to provide Plaintiff with two accommodations: (1) extended test-

taking time, and (2) quiet, non-distracting test-taking facilities. Defendant does not argue that,

assuming Plaintiff was disabled, the agreed accommodations were unreasonable or inappropriate.

Thus, the question is whether the agreed accommodations were actually provided.

       Plaintiff testified to the presence of significant distractions on two of the three occasions

that she took the seminar exam. (Pl.‘s Depo Tr. [Doc. # 66-3] at 94, 107-09, 183; see also id. at

164, 168, 171.) On one occasion, Plaintiff was permitted to take her seminar exam in the office

of a professor, Anne Chepulis. (Id. at 107-08.) Plaintiff testified that, while she was taking the

exam, there was a pot of coffee brewing next to her and that she could hear Dr. Warren, whose

office was next door, ―laughing, giggling, talking very loud.‖ (Id. at 94.) She also testified that

Ms. Chepulis ―would go in and out of the room to talk to Mr. Warren,‖ and that ―it was more

distracting . . . than taking [the exam] in the classroom.‖ (Id.) Plaintiff failed the exam.




                                                 11
        Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 12 of 20



       Plaintiff testified that, on the third occasion she took the seminar exam, she took it in a

classroom instead of a professor‘s office. (See id. at 162.) According to Plaintiff, ―there was a

party next door for the dental students, so it wasn‘t quite like promised,‖ and that ―Anne

Chepulis kept coming downstairs so Dr. Warren could leave, so [there were] distractions of him

going in and out of the classroom.‖ (Id. at 164.) Plaintiff testified that ―the distractions‖ were

part of the reason that she failed the exam for a third time. (Id. at 168.) In response, Defendant

argues that Plaintiff was given the opportunity to take the third exam in an instructor‘s office but

instead chose to take it in the classroom. But the record indicates that Plaintiff chose to take the

exam in a classroom after: (1) discussing with the Associate Dean of Student Services, Cynthia

Clark, ―the pros and cons‖ of taking the test in an office versus the regular classroom, and (2)

receiving assurance from Dr. Warren and Dean Clark that the classroom would not be

distracting. (Id. at 162.) As discussed above, the latter proved to be untrue, at least according to

Plaintiff‘s testimony. Moreover, the record is not clear as to what the ―pros and cons‖ were that

Plaintiff discussed with Dean Clark. (Id.) There is a reference in Plaintiff‘s deposition to a

―little meeting‖ in Dean Clark‘s office that ―might cause a little distraction‖ as being the reason

Plaintiff decided to take the exam in the classroom. (Id. at 163.) Construing the record in the

light most favorable to Plaintiff, it is possible that one of the ―cons‖ of taking the exam in a

professor‘s office was that it could be as distracting as a classroom, as it was when Plaintiff took

it in Ms. Chepulis‘s office. Given this evidence, I cannot conclude as a matter of law that

Plaintiff voluntarily surrendered a right to a non-distracting test-taking facility by electing to take

the test in the classroom as opposed to a professor‘s office.

       A reasonable fact-finder could conclude from this evidence that Plaintiff did not receive

one of the two promised reasonable accommodations—a non-distracting test environment—on at



                                                  12
        Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 13 of 20



least two occasions. The record also indicates that Lincoln‘s policies allow students to take the

seminar exam a second time if they do not pass on the first attempt. (Id. at 85.) Because a

reasonable fact-finder could conclude that Plaintiff received, at most, only one accommodated

exam, it could also conclude that, in effect, Plaintiff was denied the privilege of taking the exam

twice. Thus, there is a genuine issue of material fact as to whether Plaintiff was denied a

reasonable accommodation to which she was entitled.

       I note that Plaintiff also appears to argue that Defendant violated the Act by not: (1)

providing Plaintiff with additional explanation of class material, (2) placing Plaintiff in the front

of the classroom, (3) speaking slowly enough for Plaintiff to understand, and (4) parsing out test

questions to make them comprehensible to Plaintiff. (See Pl.‘s Mem. [Doc. # 66-1] at 40.)

Although Defendant does not dispute that it limited the accommodations to the two already

discussed, Plaintiff testified in her deposition, repeatedly and unequivocally, that she did not

need any accommodations other than the two that Defendant initially agreed to provide. (Pl.‘s

Depo. Tr. [Doc. # 66-3] at 73, 89.) Having unequivocally conceded in her deposition that the

other accommodations were unnecessary, and having failed to point to any evidence that they

were necessary, she cannot now claim that they were unlawfully denied.                 Cf. Newport

Electronics, Inc. v. Newport Corp., 157 F. Supp. 2d 202, 220 (D. Conn. 2001) (―The settled law

in the Second Circuit is that a party may not create a material issue of fact by submitting an

affidavit in opposition to a summary judgment motion that, by omission or addition, contradicts

the affiant‘s previous deposition testimony.‖ (internal citations and quotation marks omitted)).

               4. Whether Defendant Acted with Deliberate Indifference

       Finally, Defendant argues that Plaintiff has failed to produce sufficient evidence to

establish that Defendant acted with deliberate indifference towards Plaintiff‘s rights under the



                                                 13
        Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 14 of 20



Act. (Def.‘s Mem. [Doc. # 54] at 29.) In order to recover monetary damages under the

Rehabilitation Act—as Plaintiff seeks to do in this case—a plaintiff must prove that the

defendant acted with ―deliberate indifference‖ to her rights guaranteed under the Act. Loeffler v.

Staten Island University Hospital, 582 F. 3d 268, 275 (2d Cir. 2009). The Second Circuit has

suggested that, in this context, deliberate indifference requires that ―[a]n official who at a

minimum has authority to address the alleged discrimination and to institute corrective measures

on the recipient‘s behalf ha[ve] actual knowledge of discrimination in the recipient‘s programs

and fail[] to adequately respond.‖ Id. at 275-76. The Second Circuit has also said that deliberate

indifference ―must be a deliberate choice, rather than negligence or bureaucratic inaction.‖ Id. at

276.

       The Second Circuit‘s analysis of the facts in Loeffler is instructive. In Loeffler, the

plaintiffs appealed a district court‘s order granting summary judgment on their claim that the

defendant, a hospital, failed to reasonably accommodate their hearing loss. Id. at 274. The

district court had granted summary judgment in part because it found no genuine issue of

material fact as to whether the defendant had been deliberately indifferent. Id. The district

court‘s conclusion was based on its finding that the hospital had a system in place to provide

interpretive services and the employees ―made numerous good-faith, though unfortunately

unsuccessful, efforts to obtain an interpreter.‖ Id. at 276. The Second Circuit reversed, finding

that the evidence in the record was sufficient to support a finding of deliberate indifference. In

reaching this conclusion, the Court of Appeals noted that, although there was evidence that some

of the hospital employees made efforts to obtain an interpreter, the plaintiffs made several

attempts to secure an interpreter that went unheeded. Id. at 276. In addition, there was evidence

that one doctor ―laughed off‖ the plaintiffs‘ request for an interpreter. Id. at 276-77. The Second



                                                14
        Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 15 of 20



Circuit concluded that, although there were ―certainly facts in the record that might lead a

reasonable jury to conclude that the Hospital was not deliberately indifferent,‖ ―taken together,‖

the evidence—including the ―shortcomings‖ in the hospital‘s conduct and the ―alleged apathetic

response‖—would allow a jury to find deliberate indifference, i.e., to find that ―persons at the

Hospital had actual knowledge of discrimination against the Loefflers, had authority to correct

the discrimination, and failed to respond adequately.‖ Id. at 276-77.

       Here, as discussed above, Plaintiff testified that her test-taking environment was

distracting on at least two of the three occasions on which she took the seminar exam. On one

occasion, the environment was distracting in part because she could hear Dr. Warren talking

loudly outside of Ms. Chepulis‘s office. (Pl.‘s Depo. Tr. [Doc. # 66-3] 94.) Plaintiff testified

that Dr. Warren knew she was taking the test in the office at the time because ―he‘s the one that

told [her] to take it in that room.‖ (Id. at 107-08.) Further, Plaintiff testified that, although Ms.

Chepulis asked Dr. Warren to quiet down once, ―[h]e quieted down for maybe five minutes and

then it was back up and he knew [she] was in the room.‖ (Id. at 108.) Ms. Chepulis would then

ask Plaintiff ―if it was okay,‖ Plaintiff would say ―no, it‘s still loud,‖ but ―nothing ever got,

nothing got done.‖ (Id.)

       On another occasion, Plaintiff took the seminar exam in a classroom and a group of

dental students was having a party in an adjacent room. (Id. at 164.) As discussed above, there

is some suggestion in the record that Plaintiff chose to take the exam in the classroom because

Ms. Clark would be having a ―little meeting‖ in her office, and because Dr. Warren assured her

the classroom would be non-distracting. (Id. at 162-63.) Plaintiff testified that the classroom

became loud because of the dental students‘ party next door. (Id. at 164.) She looked up at Dr.

Warren and pointed to the room next door, at which point Dr. Warren told the dental students



                                                 15
        Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 16 of 20



that ―[t]hey are taking the exam.‖ (Id. at 168.) According to Plaintiff, the students quieted down

―for a little‖ but then the noise ―[w]as the same as it was when he had asked people to be quiet.

It got the same.‖ (Id. at 171.) Viewed in a light most favorable to Plaintiff, the summary

judgment record would permit a reasonable jury to conclude that Ms. Chepulis, Ms. Clark, and

Dr. Warren were aware that the accommodations fell short of guaranteeing Plaintiff a quiet test-

taking environment, and did not do enough to address this problem.

       Moreover, Plaintiff testified to remarks by Dr. Warren that were similar to the

defendant‘s conduct in Loeffler. In particular, Plaintiff testified to the following comments: (1)

Dr. Warren stated, ―Oh, I don‘t know what this is going to do to help‖ when Plaintiff requested

accommodations (id. at 97), (2) Dr. Warren stated, ―You didn‘t study‖ and ―you obviously

weren‘t putting your effort into it‖ (id. at 139), and (3) Dr. Warren stated, ―If you can‘t make it

through this school, you can‘t make it through any other school‖ (id. at 140.) Each of these

comments suggests that Dr. Warren was dismissive of Plaintiff‘s alleged disability. Taken

together and viewed in a light most favorable to Plaintiff, this evidence is sufficient to raise a

genuine issue of material fact as to whether Plaintiff‘s professors knew of the inadequate

accommodations and failed to adequately respond, i.e., whether they were ―deliberately

indifferent‖ to Plaintiff‘s entitlement to a quiet place to take her exams.

       For all of the foregoing reasons, summary judgment as to Count Two is DENIED.

       C. Count Five – Breach of Contract

       Count Five alleges a breach of contract claim. The basis of the claim appears to be an

alleged agreement negotiated by Dean Kiernan and Merle Harris, an educational consultant

retained by Plaintiff and acting on her behalf. According to Plaintiff, it was agreed that: (1)

Plaintiff could take the seminar exam in a quiet, non-distracting setting, (2) Dr. Warren would



                                                 16
        Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 17 of 20



teach the seminar along with other teachers, and would sit in and listen when other teachers were

teaching, (3) the seminar would be taught from the relevant texts, and (4) the examination would

be prepared by the instructors and derived from classroom lectures and textbooks. (Pl.‘s Mem.

[Doc. # 66-1] at 46.) Plaintiff alleges that Defendant failed to comply with these terms. (Id.)

       The primary evidence of any agreement is an email exchange between Ms. Harris and

Dean Kiernan. (See Ex. 8 to Aff. of David Golder [Doc. # 55-2].) In an email to Dean Kiernan

on May 20, 2011, Ms. Harris stated that she conveyed certain information to Plaintiff that she

had discussed with Dean Kiernan, including: (1) that Plaintiff would have extended time to take

the exam and that it would be taken in a separate room, (2) that the exam would not use ―none of

the above‖ as a possible answer, and (3) that the course would have faculty, including Dr.

Warren, giving lectures in their areas of expertise. (Id.) Dean Kiernan responded to the email by

saying ―Thank you.‖ (Id.) The threshold question is whether there is sufficient evidence for a

reasonable jury to conclude that Plaintiff and Defendant entered into a binding agreement.

       It is well-settled in Connecticut that, to form a valid and binding contract, there must be

offer, acceptance, and consideration. Flaherty v. Borough of Naugatuck, 2007 WL 3121679, at

*4 (Conn. Super. Ct. 2007). In addition, there must be ―a mutual understanding of the terms that

are definite and certain between the parties.‖ Id. The email exchange between Ms. Harris and

Dean Kiernan may be sufficient evidence for a reasonable jury to conclude that Ms. Harris and

Dean Kiernan exchanged an offer and acceptance and reached a mutual understanding of some

definite terms on behalf of Plaintiff and Defendant, although the terms set forth in the email do

not match all of the terms alleged by Plaintiff. More importantly, however, the email exchange

does not give any indication that any agreement was supported by consideration. Although there

is an email from Ms. Harris to Plaintiff indicating that Plaintiff would have to pay $50 to take the



                                                17
        Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 18 of 20



course (see Ex. 9 to Aff. of David Golder [Doc. # 55-2] (―Dean Kiernan had indicated the

course, which would only be $50, would be taught by Dr. Warren‖), there is no evidence that the

$50 was consideration for the specific promises at issue, as opposed to simply the cost of the

course itself, which was being offered to other students as well. Thus, the email is not sufficient

evidence of consideration as to the specific commitments allegedly made to Plaintiff that went

above and beyond simply offering the course.

        Finally, there is no evidence in the record that Defendant breached the second and third

promises reflected in the email – that ―none of the above‖ would not be a possible answer on the

exam and that Dr. Warren and other faculty would teach their areas of expertise. The first

promise was just a restatement of the two accommodations Defendant had agreed to make from

the outset of Plaintiff's career at Lincoln, and was required to make under the Act (assuming

Plaintiff has a disability). A promise to follow the law is not one supported by consideration and

thus cannot form the basis of a breach-of-contract claim. See Jackson v. Water Pollution Control

Authority, 278 Conn. 692, 707 n.13 (2006) (―Generally, a promise to do something which the

promisor is already legally obligated to do does not constitute consideration sufficient to support

a valid contract.‖ (internal quotation marks omitted)); Willamette Management Associates, Inc. v.

Palczynski, 134 Conn. App. 58, 72-73 (2012) (―In order for there to be valid consideration, a

party must do, or promise to do, something further than, or different from, that which he is

already bound to do.‖ (internal quotation marks, ellipses, and brackets omitted)).

        Because there is no evidence that the promises as to which there is some evidence of

breach were supported by consideration, a reasonable jury could not conclude that the alleged

agreement was an enforceable contract. Summary judgment is therefore GRANTED as to Count

Five.



                                                18
        Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 19 of 20



       D. Count Six – Intentional Infliction of Emotional Distress

       Count Six alleges a claim of intentional infliction of emotional distress (―IIED‖).

Plaintiff‘s IIED claim appears to be based on all of the alleged conduct in the case, including Mr.

Carta‘s alleged sexual harassment of Plaintiff.

       With respect to the alleged sexual harassment, that conduct cannot form the basis of

Plaintiff‘s IIED claim because it was outside the scope of Mr. Carta‘s employment. Mr. Carta is

not a defendant; as a result, Plaintiff is, in effect, attempting to hold Defendant vicariously liable

for an intentional tort committed by Mr. Carta. In Connecticut, ―in order to hold an employer

liable for the intentional torts of his employee, the employee must be acting within the scope of

his employment and in furtherance of the employer‘s business.‖ A-G Foods, Inc. v. Pepperidge

Farm, Inc., 216 Conn. 200, 208 (1990). ―Absent special circumstances to show otherwise,

sexual harassment and sexual assault are outside the scope of an employee‘s employment and not

in furtherance of the employer‘s business.‖ Radesky v. First Am. Title Ins. Co., 2003 U.S. Dist.

LEXIS 15969 (D. Conn. 2003). There are no facts in the record from which it could be

reasonably concluded that Mr. Carta‘s alleged conduct was within the scope of his employment

and in furtherance of Defendant‘s business. Accordingly, that conduct cannot form the basis of

Plaintiff‘s IIED claim.

       With respect to conduct about which Plaintiff testified at her deposition not including the

sexual harassment, I find that no reasonable jury could conclude that the conduct was ―extreme

and outrageous.‖ Simply put, although the alleged conduct may have been unlawful or resulted

in ―hurt feelings,‖ no reasonable jury could conclude that the conduct meets the high standard of

being ―so outrageous in character, and so extreme in degree, as to go beyond all possible bounds

of decency, and to be regarded as atrocious, and utterly intolerable in a civilized community.‖



                                                  19
         Case 3:12-cv-00703-MPS Document 75 Filed 06/18/14 Page 20 of 20



Appleton v. Bd. of Ed. Of Stonington, 254 Conn. 205, 211 (2000). Summary judgment as to

Count Six is therefore GRANTED.

IV.      CONCLUSION

         For the foregoing reasons, Defendant‘s Motion for Summary Judgment [Doc. # 53] is

GRANTED IN PART and DENIED IN PART.

                                          IT IS SO ORDERED.



                                              /s/

                                          Michael P. Shea, U.S.D.J.


Dated:         Hartford, Connecticut
               June 18, 2014




                                             20
